                    Case 1:24-cr-00290-DLF                  Document 1         Filed 01/29/24        Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                     Michael Picciuto
                                                                     )
                     DOB: XXXXXX                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                            in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

            Code Section                                                      Offense Description
         18 U.S.C. § 231(a)(3) – Obstructing, Impeding, or Interfering with Law Enforcement,
         18 U.S.C. § 1363 – Destruction or Injury to Buildings or Property in Special Maritime and Territorial
        Jurisdiction,
        18 U.S.C. § 1752(a)(1) – Entering or Remaining in Any Restricted Building or Grounds,
         18 U.S.C. § 1752(a)(2) – Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
         18 U.S.C. § 1752(a)(4) – Engaging in Physical Violence in a Restricted Building or Grounds,
         40 U.S.C. § 5104(e)(2)(D) – Violent Entry and Disorderly Conduct on Capitol Grounds.
        40 U.S.C. § 5104(e)(2)(F) – Act of Physical Violence on U.S. Capitol Grounds;
        40 U.S.C. § 5104(e)(2)(G) – Parading, Demonstrating, or Picketing in a Capitol Building

          This criminal complaint is based on these facts:
   6HHDWWDFKHGVWDWHPHQWRIIDFWV

         9
         u Continued on the attached sheet.




$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQ
E\WHOHSKRQH

Date:             01/29/2024
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                      G. Michael Harvey U.S. Magistrate Judge
                                                                                               Printed name and title
